







		NO. 12-08-00404-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




JIMMIE JAMES HANES,§
	APPEAL FROM THE 7TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


	Appellant Jimmie James Hanes was convicted of driving while intoxicated.  In his sole issue,
Appellant argues that the trial court's judgment should be reformed to accurately reflect the
proceedings below.  We modify the judgment and affirm as modified.


Background

	Appellant was charged by indictment with driving while intoxicated, alleged as a third degree
felony.  Appellant pleaded guilty to the charged offense and true to an enhancement paragraph.  The
trial court found Appellant guilty of the charged offense and found the enhancement paragraph to
be true.  The trial court assessed Appellant's punishment at twenty years of imprisonment.  This
appeal followed.


Judgment

	In his sole issue, Appellant asks that we reform the trial court's judgment to accurately reflect
the proceedings at trial.  The State has joined Appellant in this request.  The judgment currently
recites that the State alleged two enhancement paragraphs, Appellant pleaded "TRUE" to each, and
the trial court found them to be "TRUE."  Appellant and the State agree that these recitations are
incorrect.  They agree further that Appellant pleaded true to only the first enhancement paragraph
and that the trial court found only that paragraph to be true.  As to the second enhancement
paragraph, it is agreed that the State abandoned its allegations.

	In addition, Appellant and the State agree that the trial court stated on the record that "[w]e
will note in the judgment that some type of psychological counseling might be of benefit [to
Appellant], since he has indicated that is something he believes he needs."  Appellant and the State
agree that this was not noted in the judgment and that the judgment should be modified to include
such a notation.

	We have the authority to reform a judgment to make the record speak the truth.  Ingram v.
State, 261 S.W.3d 749, 754 (Tex. App.-Tyler 2008, no pet.).  The Texas Rules of Appellate
Procedure expressly authorize us to modify the judgment of the trial court.  Tex. R. App. P. 43.2. 
Therefore, we sustain Appellant's issue.


Conclusion

	We have sustained Appellant's sole issue.  Accordingly, we modify the trial court's judgment
to reflect that the State alleged only one enhancement paragraph, to which Appellant pleaded
"TRUE."  Any reference to a second enhancement paragraph is deleted.  We also modify the
judgment to include the following notation: "Some type of psychological counseling might be of
benefit to Jimmie James Hanes."  As modified, we affirm the judgment of the trial court.



								     JAMES T. WORTHEN    

									     Chief Justice



Opinion delivered September 2, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.







(DO NOT PUBLISH)


